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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

     MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION



UNITED STATES OF AMERICA          )
                                  )
    v.                            )      CRIMINAL ACTION NO.
                                  )        2:94cr62-MHT
DONALD MINEFIELD, a/k/a           )             (WO)
DONALD MINNIFIELD                 )

                              JUDGMENT

    In accordance with the memorandum opinion entered

this date, it is the ORDER, JUDGMENT, and DECREE of the

court as follows:

    (1) Defendant Donald Minefield's objections (Doc.

         No. 1935) are overruled.

    (2) The       United       States       Magistrate         Judge's

         recommendation (Doc. No. 1930) is adopted.

    (3) Defendant Minefield’s 18 U.S.C. § 3582(c)(2)

         motion to reduce sentence (Doc. No. 1909) is

         denied.

    DONE, this the 7th day of December, 2007.

                              /s/ Myron H. Thompson
                           UNITED STATES DISTRICT JUDGE
